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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                          )
                                                   )
              Plaintiff,                           )
                                                   )
v.                                                 )      Case No. CR-17-239-D
                                                   )
JERRY DRAKE VARNELL,                               )
                                                   )
              Defendant.                           )

                                          ORDER

       Before the Court is Defendant’s Motion to Dismiss the Superseding Indictment for

Outrageous Government Conduct and Brief in Support [Doc. No. 212]. The United States

has responded in opposition [Doc. No. 218]. The Court will reserve ruling on Defendant’s

motion to dismiss until after the close of the government’s case in chief. See, e.g., United

States v. Pedraza, 27 F.3d 1515, 1520 (10th Cir. 1994) (the circuit did not criticize the trial

court’s procedure in reserving a ruling on the defendant’s motion to dismiss until after the

close of the government’s case).

       Accordingly, Defendant’s Motion to Dismiss the Superseding Indictment for

Outrageous Government Conduct and Brief in Support [Doc. No. 212] is RESERVED, as

set forth herein.

       IT IS SO ORDERED this 11th day of February 2019.
